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lN THE UN|TED STATES DlSTRlCT COURT

SOUTHERN DlSTRlCT OF OHlO
CENTRAL DlVlSlON
ANN FRANC|S, individually and on ClVlL ACT|CN 2:18-cv-11
behalf of all others similarly situated
1662 CARR|GALLEN LANE JUDGE
COLUMBUS, OHlO 43228
Plaintiff, COLLECTlVE ACT|ON
COMPLA|NT

vs.
(Jury Demand Endorsed Hereon)
EXTENDED LlFE HOMECARE, LTD.
1350 W. FlFTH AVENUE, SU|TE 16
COLUMBUS, 0HlO 43212

and

KENNETH LAMPLEY
1350 W. FlFTH AVENUE, SU|TE 16
COLUMBUS, OH|O 43212

and
JANNON LAMPLEY

1350 W. FlFTH AVE, SU|TE 16
COLUMBUS, OHlO 43212

 

The Plaintiff, Ann Francis (“P|aintifl”), by and through the undersigned counsel and on
behalf of herself and all similarly situated individua|s, brings this collective action against
Defendants Extended Life Homecare, Ltd., Kenneth Lamp|ey, and Jannon Lamp|ey (co||ective|y
“Defendants”) seeking all available relief under the Fair Labor Standards Act of 1938 (“FLSA”),
29 U.S.C. §201, et. seq., as well as the statutes and common laws of the State of Ohio. Plaintiff

alleges and complains as follows:

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INTRODUCT|ON

. This case is filed on the basis of the Defendant’s policies and practices that are in violation
of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §201-§219. This case is also filed on
the basis of a violation of the Ohio Revised Code §4111.03, §4111.10, §4111.99,
§4112.02, §4113.14, §4113.15, and §4113.99. This case is further filed on the basis of
several common laws of the State of Ohio, including breach of contract and/or quasi-
contract, unjust enrichment, and promissory estoppel.

. Plaintiff brings this matter as a collective action under the FLSA pursuant to 29 U.S.C.
§216(b) and brings it on behalf of herself and other similarly situated individuals who may
join this case pursuant to §216(b) (“Federa| Class”).

. Plaintiff brings this matter as a collective action pursuant to Ohio Revised Code
§41 13.14(K) (“State Class”).

JUR|SD|CT|ON AND VENUE
Plaintiff incorporates by reference herein the allegations contained in paragraphs 1
through 3, inclusive herein above.

. The Court has federal question jurisdiction over this lawsuit pursuant to 29 U.S.C. §216(b),
28 U.S.C. §1331.

. This Court has supplemental jurisdiction over the Plaintist state law claims under 28
U.S.C. § 1367 because these claims are so related to the FLSA claims as to form part of
the same case or controversy.

. Venue is proper in this forum pursuant to 28 U.S.C. §1391 as all, or substantially all, of
the events or omissions giving rise to Plaintist claims occurred within this Court’s
jurisdiction.

PART|ES
. Plaintiff incorporates by reference herein the allegations contained in paragraphs 1

through 7, above.

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Plaintiff is a resident of Franklin County, over the age of 18, and subject to the jurisdiction
of this Court.
Defendant Extended Life Homecare, Ltd. is an Ohio Corporation for Proflt, has a principal
place of business in Franklin County, Ohio, and is subject to the jurisdiction of this Court.
According to the Defendant’s website, in part, “Extended Life Homecare is an in-home
health service provider that assists individuals and families with an alternative option to
continuous hospitalization or institutionalizations. We specialize in providing rehabilitation
and health care in the comfort and convenience of the consumer’s home.”
Defendant Kenneth Lamp|ey is co-owner of Defendant Extended Life Homecare, Ltd. and
a resident of central Ohio. Mr. Lamp|ey is the general manager of Defendant Extended
Life Homecare, Ltd. and has ultimate control over the day-to-day operations of Defendant
Extended Life Homecarel Ltd. Mr. Lamp|ey was Plaintist immediate supervisor.
Defendant Jannon Lamp|ey is co-owner of Defendant Extended Life Homecare, Ltd. and
a resident of central Ohio. Ms. Lamp|ey is an administrator of Defendant Extended Life
Homecare, Ltd. and has ultimate control over the day-to-day operations of Defendant
Extended Life Homecare, Ltd.

COLLECT|VE ACT|ON ALLEGAT|ONS
Plaintiff incorporates by reference herein the allegations contained in paragraphs 1
through 12, above.
At all times relevant, Defendant Extended Life Homecare, Ltd. was an “emp|oyer” within
the meaning of the FLSA, 29 U.S.C. §203(d) and O.R.C. §4111.01, et. seq.
At all times relevant, Plaintiff was an “emp|oyee” within the meaning of 29 U.S.C. §203,
O.R.C. 4111.01, et. seq. and Artic|e ll, §34(a) of the Ohio Constitution.
At all times relevant, Defendant Extended Life Homecarel Ltd. had annual sales in excess
of $500,000.00 and was an enterprise within the meaning of 29 U.S.C. §203(r) and O.R.C.

§4111.01, et. seq.

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At all times relevant, Defendant Extended Life Homecare, Ltd. was an enterprise engaged
in commerce or in the production of goods for commerce within the meaning of 29 U.S.C.
§203(3)(1).
At all times relevant, Defendant Extended Life Homecare, Ltd. failed to pay Plaintiff
overtime as required by Federal and State law, as Plaintiff was not properly exempt from
time-and-a-half overtime compensation.
Those individuals who are similarly situated to the Plaintiff, the proposed “opt-ins,” consist
of all present and former employees of Defendants who perform or performed home
healthcare services on behalf of Defendants during the period of three (3) years preceding
the commencement of this action to the present who were not paid overtime at a rate of
not less than 1.5 times their regular rate of pay for work in excess of forty (40) hours per
regularly scheduled workweek in one or more workweeks.
Such individuals are “similar|y situated” with respect to Defendants’ FLSA and Ohio law
violations in that all were employees of Defendant Extended Life Homecare, Ltd. and
subjected to injury as a result of the Defendants’ failure to compensate such individuals at
a rate not less than 1.5 times their regularly rate of pay for work in excess of forty (40)
hours per regularly scheduled workweek in one or more workweeks.
Conditional certification of this case as a collective action pursuant to 29 U.S.C. §216(b)
and O.R.C. §4113.14(K) is proper and necessary so that such persons may be sent a
court-authorized notice informing them of the pendency of this action and providing them
an opportunity to opt-in to this action, as appropriate

PLAlNTlFF’S FACTUAL ALLEGAT|ONS
Plaintiff incorporates by reference herein the allegations contained in paragraphs 1
through 21, above.

Plaintiff was hired as an employee in November 2014.

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At the time of Plaintiff’s hiring, she was paid $20.00 per hourfor the first patient and $16.00
per hour for each additional patient under her care.

Plaintiff had three patients under her care from November 2014 through August 2015.
After August 2015, she continually had two patients under her care.

ln March 2015, Defendant unilaterally and without notice converted Plaintiff from being an
employee of Defendant Extended Life Homecare, Ltd. to being an independent contractor.
Plaintiff experienced no change in job duties or responsibilities between being an
employee and a misc|assified independent contractor. Plaintiff learned of the conversion
only after noticing that her paychecks, which were directly deposited into her bank
account, were incorrect. When Plaintiff questioned this, Defendant Kenneth Lamp|ey
informed her that the different amount accounted for taxes that were no longer being
withheld because he converted her to an independent contractor.

Throughout the nearly three (3) years preceding the filing of this action that Plaintiff worked
for Defendant, Plaintiff worked an average of 50 hours per week,

Plaintiff is not exempt from overtime under the Fair Labor Standards Act.

Defendants Extended Life Homecare, Ltd., Kenneth Lamp|ey, and Jannon Lamp|ey
willfully engaged in a scheme to deprive Plaintiff of her overtime compensation.

The FLSA requires employers to create and keep precise time records and such time
records do not exist. Absent Defendant Extended Life Homecare, Ltd. keeping such
records, Plaintiff is permitted to submit her information about the number of hours worked
and estimates this time at 50 hours per week, totaling approximately $81,000.00 plus
liquidated damages.

COUNT l
Violation of the Fair Labor Standards Act (“FLSA”)

Plaintiff incorporates by reference herein the allegations contain in paragraphs 1 through

30 above.

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Defendant Extended Life Homecare, Ltd. is an employer covered by the overtime
requirements set forth in the FLSA, and Plaintiff was a non-exempt employee for purposes
of 29 U.S.C. §207.

During the relevant time periods set forth in this Complaint, Defendant Extended Life
Homecare, Ltd. violated the FLSA by not paying Plaintiff the legally mandated overtime
premium for all hours worked in excess of forty (40) hours per workweek.

Plaintiff does not qualify for an exemption from the overtime obligations under the FLSA.
During the entirety of Plaintiff’s employment with Defendant Extended Life Homecare, Ltd.,
Defendants Extended Life Homecare, Ltd., Kenneth Lamp|ey, and Jannon Lamp|ey knew
that Plaintiff was not exempt from overtime obligations imposed by the FLSA, yet they
willfully withheld and failed to properly pay overtime compensation to Plaintiff despite such
knowledge.

The exact amount of compensation, including overtime compensation that Defendant has
failed to pay Plaintiff is not known at this time, as many of the records necessary to make
such calculations are in Defendants’ possession (or not kept by Defendants), but Plaintiff
estimates at $81,000.00 plus liquidated damages of $81,000.00, plus reasonable
attorney’s fees and costs is due and owing to Plaintiff.

Defendant’s failure to pay Plaintiff overtime compensation for all hours worked is not
based on good faith or any other reasonable grounds. Pursuant to 29 U.S.C. §216(b),
Plaintiff is entitled to liquidated damages in an amount equal to the compensation and/or
overtime she has not already been paid.

Plaintiff has been required to file this action as a result of the illegal actions of Extended
Life Homecare, Ltd., Kenneth Lamp|ey, and Jannon Lamp|ey who, together, failed to pay
Plaintiff her proper compensation. As such, Plaintiff is entitled to attorney fees and costs
included pursuant to 29 U.S.C. §216(b) in addition to the $81,000.00 actual damages and

$81,000.00 liquidated damages.

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COUNT ll
Overtime Vio|ations Under Ohio Law

Plaintiff incorporates by reference herein the allegations contained in paragraphs 1
through 38, above.

The Ohio Minimum Fair Wage Standards law, O.R.C. § 4111.03 requires an employer to
pay overtime compensation to all non-exempt employees

Pursuant to O.R.C. § 4111.03, Plaintiff must be paid for all time worked in excess of forty
hours per week at a rate equal to one and one-half times her normal hourly rate.

As set forth above, Plaintiff was routinely shorted overtime pay.

Plaintiff seeks damages in the amount of the underpayments pursuant to O.R.C. §
4111.03 plus attorney’s fees, costs, liquidated damages, expenses, and other relief
pursuant to § 4111.10 and other applicable Ohio laws.

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o.R.c. §4111.10(A) and §4111.99 violations

Plaintiff incorporates by reference herein the allegations contained in paragraphs 1
through 43, above.

Plaintiff does not have time records for hours worked during her employment but has set
forth her best estimate of the hours worked by her for that time period at 50 hours per
week.

Under O.R.C. §4111.13(C), no employer shall pay or agree to pay wages at a rate less
than the rateapp|icab|e under sections 4111.01 to 4111.17 of the Revised Code. Each
week or portion thereof for which the employer pays an employee less than the rate
applicable under those sections constitutes a separate offense as to each employee.
Further, no employer shall otherwise violate sections 4111.01 to 4111.17 of the Revised
Code, or any rule adopted thereunder. Each day of violation constitutes a separate

offense.

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Defendant has violated O.R.C. §4111.10(A) for its failure to pay Plaintiff in accordance
with §4111.03(A), which is an overtime wage at a rate of 1.5 times the Plaintiff’s regular
rate of pay in excess of forty (40) hours per week,

The Plaintiff is due $81,000.00, plus liquidated damages of $81,000.00, plus interest,
costs, and attorney fees as may be permitted by the Court under O.R.C. § 4111.10(A).

COUNT lV
O.R.C. §4113.15 and §4113.99 Violations

Plaintiff incorporates by reference herein the allegations contained in paragraphs 1
through 48, above.

No time records exist, or those that do exist are false, inaccurate, and unreliable for
Plaintiff during her employment with Defendants.

Defendants have failed to properly pay Plaintiff her semimonthly payment of wages in
accordance with §4113.15 of the Ohio Revised Code because proper overtime wages
have not been paid to Plaintiff in a timely manner.

As a result of the foregoing, Plaintiff is due $81,000.00, plus $81,000.00 as liquidated
damages, totaling $162,000, plus statutoryinterest, plus six percent liquidated damages
of amounts owed to Plaintiff that are greater than sixty (60) days overdue from the
scheduled payday.

COUNTY V
Breach of Contract and/or Quasi-Contract

Plaintiff incorporates by reference herein the allegations contained in paragraphs 1
through 52, above.

Defendants promised constructive, oral|y, and/or in writing to pay Plaintiff, and those
similarly situated to Plaintiff, a set hourly rate for time worked and at a rate of one and
one-half times the set hourly rate for time worked beyond forty hours per week.

Plaintiff, and those similarly situated to Plaintiff, furnished valuable consideration in the

form of labor with the expectation of pay at the agreed upon rate.

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. Plaintiff, and those similarly situated to Plaintiffl performed labor for Defendants in excess
of forty hours per week pursuant to Defendant’s promise to pay overtime for work in excess
of forty hours per week,

Defendants benefitted from labor in excess of forty hours per week by Plaintiff and those
similarly situated to Plaintiff.

Plaintiff, and those similarly situated to Plaintiff, experienced a detriment by not being paid
time and a half for all hours worked over forty hours per week.

Defendants breached their obligations to Plaintiff, and those similarly situated to Plaintiff,
by failing to pay the hourly overtime rate as set forth above.

Plaintiff, and those similarly situated to Plaintiff, have suffered damages in the form of lost
wages, lost overtime pay, and other damages

Defendants’ failure to pay overtime violated the legal doctrine of contract and/or quasi-
contract.

COUNT V|
Unjust Enrichment

Plaintiff incorporates by reference herein the allegations contained in paragraphs 1
through 61, above.

Through their labor, Plaintiff, and those similarly situated to Plaintiff, furnished a benefit to
Defendants.

Plaintiff, and those similarly situated to Plaintiff, conferred a benefit upon Defendants when
they worked hours and provided services for the benefit of Defendants.

Defendants were aware of and appreciated the benefits of this labor but did not pay
Plaintiff, or those similarly situated to Plaintiff, for all hours worked and/or for all overtime

hours as required by |aw.

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66. Under the circumstances described herein, it would be inequitable for Defendants to retain
the benefit labor by Plaintiff, and those similarly situated to Plaintiff, without just
compensation to Plaintiff, and those similarly situated to Plaintiff.

67. Plaintiff, and those similarly situated to Plaintiff, are entitled to just compensation for the
services rendered to Defendants

COUNTY V|l
Promissory Estoppe|

68. Plaintiff incorporates by reference herein the allegations contained in paragraphs 1
through 67, above.

69. Defendants promised to pay Plaintiff, and those similarly situated to Plaintiff, a set hourly
rate for time worked and a rate of one and one-half times the set hourly rate for-time
worked beyond forty hours per week.

70. Plaintiff, and those similarly situated to Plaintiff, relied on Defendants’ promise to their
detriment by benefiting Defendants with working in excess of forty hours per week,

71. Such reliance was foreseeable and objectively reasonable under the circumstances

72. Plaintiff, and those similarly situated to Plaintiff, were damaged as a result of such reliance
because they were deprived of pay for all hours worked including overtime hours

73. Defendants knowingly and willfully deprived Plaintiff, and those similarly situated to
Plaintiff, full pay for all hours worked including overtime hours

COUNT Vlll
Collective Action

74. Plaintiff incorporates by reference herein the allegations contained in paragraphs 1
through 73, above.

75. Pursuant to 29 U.S.C. §216(b), a collective action may be maintained by Plaintiff on behalf
of Plaintiff and other eligible employees against Defendants

76. ln addition to Plaintiff, Defendants have failed to pay other non-exempt employees

overtime compensation for hours worked in excess of forty (40) hours per week.

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77. As a direct and proximate cause of Defendant’s failure to pay these other employees their
lawfully earned overtime wages, Defendants are liable to each of these employees for the
full amount of the overtime wage rate and an additional amount as liquidated damages as
well as costs and reasonable attorney fees

WHEREFQRE, Plaintiff requests the following relief against Defendant:

1. Conditionally certify this case as a collective action pursuant to 29 U.S.C. §216(b) and
Ohio Revised Code §4113.14(K) and direct that a Court-approved notice be issued to
similarly situated persons informing them of this action and enabling them to opt-in, as
appropriate;

2. Judgment in favor of Plaintiff and other class members and against Defendant for the
amounts set forth in this Complaint;

3. Liquidated damages attorney fees, and costs to Plaintiff and other class members; and

4. Grant to Plaintiff such other and further relief to which Plaintiff may be entitled, including
all costs and attorney’s fees herein incurred.

Respectfully submitte ,

By: W/‘///`

Matthew D_ Austir“r (0076619)
Huntington Bank Bui|ding

17 South High Street, Suite 810
Columbus, Ohio 43215

Phone: (614) 285-5342

Email: l\/latt@l\/lattAustlnLaborLaw.com

JURY DEMAND

Plaintiff hereby demands a trial by jury as to all counts of this Complaint.

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Manh/ew D. Austin (0076619)

Attorney for Plaintiff, Ann Francis

